                        JOURNAL ENTRY AND OPINION
{¶ 1} Christ Steimle, through an application for reopening, is attempting to reopen the appellate judgment that was rendered by this court in State v. Steimle (Dec. 7, 2000), Cuyahoga App. Nos. 77005, 77006, 77302, and 77303, which affirmed his plea of guilty to the offenses of felonious assault and intimidation. Steimle argues that he was denied effective assistance of counsel upon appeal.
  {¶ 2} An application for reopening, as filed pursuant to App.R. 26(B), must be based upon a claim of ineffective assistance of appellate counsel. See App.R. 26(B)(1). Steimle, however, represented himself on appeal to this court in State v. Steimle, supra. Therefore, he is precluded from arguing his own ineffective assistance of appellate counsel through the present application for reopening. State v. Boone (1996),114 Ohio App.3d 275, 683 N.E.2d 67; State v. Smith (Nov. 29, 2001), Cuyahoga App. No. 79292, reopening disallowed (Mar. 8, 2002), Motion No. 36058; State v. Bobo (Jan. 16, 1996), Cuyahoga App. No. 60013, reopening disallowed (Apr. 10, 1996), Motion No. 69762.
  {¶ 3} Accordingly, the application for reopening is denied.
Ann Dyke, P.J., Concurs
 Sweeney, J., Concurs